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 8                               UNITED STATES BANKRUPTCY COURT

 9                               NORTHERN DISTRICT OF CALIFORNIA

10    In re:                                                   Case No.     11-41673

11    Sheila Davis                                             Chapter      13
                 Debtor(s)
12    __________________________________/

13                   REQUEST FOR ENTRY OF DEFAULT ORDER ON MOTION

14                              REQUESTING DISCHARGE OF DEBTOR

15             On October 6, 2016, Debtor filed a Motion to Requesting Discharge of Debtor (Doc 127).

16   On that same date debtor served a Notice and Opportunity for Hearing on Motion Requesting

17   Discharge of Debtor to all of the parties on the court’s service list (Doc 128).

18             The attorney for debtor has received no notice of opposition or request for hearing on

19   debtor's motion. Therefore, debtor prays the court grants debtor's motion and enter Debtor’s

20   discharge after completion of her Chapter 13 Plan.

21   Date: June 29, 2017                                    /s/Evan Livingstone
                                                            Evan Livingstone
22                                                          Attorney for Debtor

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 1                            DECLARATION OF EVAN LIVINGSTONE

 2          I Evan Livingstone, attorney for debtor, declare under penalty of perjury that I have

 3   received neither opposition nor request for a hearing on debtor’s motion.

 4
     Date: June 29, 2017                          /s/Evan Livingstone
 5                                                Evan Livingstone
                                                  Attorney for Debtor
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